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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. l0-20004-CIV~COOKE/BANDSTRA

WILLIAM RAKIP and CESAR JERONIMO,
and others similarly-situated,

Plaintiffs,
v.

PARADISE AWNINGS CORPORATION,
a Florida corporation, MANUEL ALCIBAR,
and JUAN CHAVIANO, individual|y,

Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION FOR EXTENSION
OF TIME TO COMPLY WITH THE COURT’S ORDER [D.E. 129]

THIS CAUSE came before the Court upon Defendants’ Motion for Extension of Time to
Comply with the Court’s Order.

Upon due consideration of the Motion and the record, the Court finds that the Defendants
have shown good cause for the relief requested. Accordingly, it is hereby

ORDERED AND ADJUDGED that the Defendants’ Motion for Extension of Time to
Comply with the Court’s Order is GRANTED.

DONE AND ORDERED in Charnbers in Miami, Miami-Dade County, Florida this _SI_,

dayof Qc-¢,§,cg., ,2010.
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TED E. BANDSTRA
UNITED STATES MAGISTRATE JUDGE

 

Copies furnished to:

Eddy Marban, Esquire
Chris Kleppin, Esquire

